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 6

 7
                                      IN THE UNITED STATES DISTRICT COURT
 8
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                         )   CASE NO. 2:12-cr-0376-TLN
11
                                                       )
                              Plaintiff,               )
12
                                                       )   STIPULATION AND ORDER TO EXCLUDE TIME
            v.                                         )
13
                                                       )
     JORGE MEDINA VASQUEZ, and                         )
14
     ROBERTO JOSE VASQUEZ, and                         )
     DIEGO FERNANDO LIMON RODRIGUEZ.                   )
15
                                                       )
                              Defendants.
16
                                                       )
17
                                               STIPULATION
18   Plaintiff United States of America, by and through its counsel of record, and the defendants, by and
19   through their counsels of record, hereby stipulate as follows:
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     1. By previous order, this matter was set for status on March 6, 2014.
21
     2. By this stipulation, the defendants now move to continue the status conference until April 3,
22
         2014, and to exclude time between March 6, 2014 and April 3, 2014, under Local Code T4.
23

24       Plaintiff does not oppose this request.

25   3. The parties agree and stipulate, and request that the Court find the following:
26           a. The government has represented that the discovery associated with this case includes
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                 several discs containing audio recordings, and related documents in electronic form. All
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                 of this discovery has been either produced directly to counsel and/or made available for
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 1            inspection and copying.
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           b. Counsel for the defendant desires additional time to consult with his client, to review the
 3
              current charges, to conduct investigation and research related to the charges, to review
 4
              and copy discovery for this matter, to discuss potential resolutions with his client, to
 5

 6            prepare pretrial motions, and to otherwise prepare for trial.

 7         c. Counsel for the defendant believes that failure to grant the above-requested continuance

 8            would deny him the reasonable time necessary for effective preparation, taking into
 9
              account the exercise of due diligence.
10
           d. The government does not object to the continuance.
11
           e. Based on the above-stated findings, the ends of justice served by continuing the case as
12

13
              requested outweigh the interest of the public and the defendants in a trial within the

14            original date prescribed by the Speedy Trial Act.

15         f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,
16
              within which trial must commence, the time period of March, 6, 2014 to April 3, 2014,
17
              inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
18
              T4] because it results from a continuance granted by the Court at defendant’s request on
19

20
              the basis of the Court's finding that the ends of justice served by taking such action

21            outweigh the best interest of the public and the defendant in a speedy trial.

22   ///
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28   ///
                Case 2:12-cr-00376-DC Document 45 Filed 03/05/14 Page 3 of 3


 1   4. Nothing in this stipulation and order shall preclude a finding that other provisions of the Speedy
 2
        Trial Act dictate that additional time periods are excludable from the period within which a trial
 3
        must commence.
 4
     IT IS SO STIPULATED.
 5

 6                                                          BENJAMIN WAGNER
                                                            U.S. ATTORNEY
 7
     Dated: March 4, 2014                           by:     /s/ Jill Thomas (auth. 3/4/14)
 8                                                          JILL THOMAS
                                                            Assistant U.S. Attorney
 9
                                                            Attorney for Plaintiff
10
     Dated: March 4, 2014                           by:     /s/ Tim F. Tuitavuki
11                                                          TIM F. TUITAVUKI
                                                            Attorney for Roberto Vasquez
12

13
     Dated: March 4, 2014                           by:     /s/ Arturo Hernandez (auth. 3/4/14)
                                                            Attorney for Diego Fernando Limon
14                                                          Rodriguez

15   Dated: March 4, 2014                           by:     /s/ Russell Humphrey (auth. 3/4/14)
                                                            Attorney for Jorge Medina Vasquez
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18

19                                                ORDER
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21   IT IS SO FOUND AND ORDERED this 4th day of March, 2014.

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26                                                    Troy L. Nunley
                                                      United States District Judge
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